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      8                     UNITED STATES DISTRICT COURT
      9 ~                  CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION
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     11     MACOM TECHNOLOGY                   Case No. CV 16-02859 CAS(PLAx)
            SOLUTIONS HOLDINGS,INC., et al
     12                                        ORDER GRANTING MACOM'S
                           Plaintiffs,         MOTION FOR LEAVE TO
     13
                                               AMEND
                u
     14
            INFINEON TECHNOLOGIES AG,et
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            al,
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                           Defendants.
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      1
                The Court having considered Plaintiffs' Motion for Leave to Amend
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          ("Motion," Dkt. 498)and Defendants' Notice of Withdrawal of Opposition (Dkt.
      3
          567), and for good cause shown, GRANTS Plaintiffs' Motion. Plaintiffs shall file
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          their Fourth Amended Complaint within 7 days ofthe date of this Order.
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          SO ORDERED.
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           DATED:. June 19, 2018
      9                                      HON. CHRISTINA SNYD
     10                                      UNITED STATES JUDGE

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